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 1                                UNITED STATES DISTRICT COURT

 2                                      DISTRICT OF NEVADA

 3 DANIEL NORR,                                             Case No.: 2:22-cv-00338-APG-BNW

 4          Petitioner                                                      Order

 5 v.

 6 AUSTRALIS CAPITAL (NEVADA), INC.
   and AUSTRALIS CAPITAL, INC.,
 7
         Respondents
 8

 9         In light of petitioner Daniel Norr’s response to the order to show cause (ECF No. 4), I

10 will not dismiss this case for lack of subject matter jurisdiction at this time. However,

11 jurisdiction has not been established in this court, and I will not issue any substantive orders until

12 jurisdiction is established.

13         I THEREFORE ORDER that petitioner Daniel Norr shall file a supplemental response to

14 the order to show cause within 15 days after the Supreme Court of the United States issues its

15 decision in Badgerow v. Walters, No. 20-1143.

16         DATED this 8th day of March, 2022.

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                                                          ANDREW P. GORDON
                                                          UNITED STATES DISTRICT JUDGE
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